
722 S.E.2d 607 (2012)
STATE of North Carolina
v.
Shannon Elizabeth CRAWLEY.
No. 37P12.
Supreme Court of North Carolina.
March 8, 2012.
Buren R. Shields, III, Special Deputy Attorney General, for State of North Carolina.
Ann B. Petersen, Chapel Hill, for Crawley, Shannon Elizabeth.
Tracey Cline, District Attorney, for State of North Carolina.

ORDER
Upon consideration of the petition filed on the 24th of January 2012 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 8th of March 2012."
